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                     UNITED STATES DISTRICT COURT
                         DISTRICT OF MINNESOTA




John Fredrick Dryer,
Elvin Lamont Bethea, and                         No. 0:09-cv-02182 PAM/AJB
Edward Alvin White,

                               Plaintiffs,       ORDER GRANTING IN PART,
                                                 DENYING IN PART,
                                                 PLAINTIFFS’ MOTION TO
v.                                               COMPEL DEFENDANT TO
                                                 PRODUCE DOCUMENTS
National Football League,                        AND ANSWER
                                                 INTERROGATORIES

                               Defendant.
____________________________________________________________________________

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55403-2015; Robert A. Stein, Bob Stein LLC, 10125 Crosstown Circle, #200,
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MN 55402, for Defendant National Football League.
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      This matter is before Special Master Arthur J. Boylan on Plaintiffs’ Motion

to Compel Defendant to Produce Documents and Answer Interrogatories, after

hearing on August 19, 2014.     Plaintiffs seek the following:   1) production of

documents containing subscriber fee revenues paid to the NFL Network; 2)

production of information used by the NFL to value NFL owned content in NFL

films; 3) production of unredacted documents containing information about the
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NFL’s uses of Plaintiffs’ likenesses; 4) production of documents concerning

downloads of films containing Plaintiffs’ likenesses on NFL.com from 2003 to

2007, and iTunes from 2003 to present; 5) discovery of information concerning

the elements considered by the NFL in determining licensing fees for NFL films,

and any use of the films at issue in the NFL Now platform; and 6) full and

complete narrative responses to Interrogatories 14, 17 and 20.

      Based upon the record, memoranda, and oral arguments by counsel, IT IS

HEREBY ORDERED that Plaintiffs’ Motion to Compel Defendant to Produce

Documents and Answer Interrogatories is GRANTED IN PART, and DENIED IN

PART, as follows:

      1. Discovery of subscriber fee revenues paid to the NFL Network is
         denied;

      2. The NFL must produce data, to the extent the data reflects the value of
         comparable uses of Plaintiffs’ likenesses in the past or the amount of
         the fee that is directly attributable to uses of Plaintiffs’ likenesses, from
         the internal analysis performed by the NFL Network, referred to in the
         Katz Deposition Exhibit 415, to calculate a pro forma rights fee that an
         unrelated third party would pay the NFL for the right to use NFL owned
         content;

      3. After in camera review of a sampling of redacted documents, the NFL
         need not produce unredacted versions of documents produced to
         Plaintiffs.

      4. The NFL must request that Cinedigm provide documents showing the
         number of iTunes downloads of programs the NFL identified as
         containing Plaintiffs’ likenesses and produce those documents, but the
         NFL need not make such a request to CBS Sportsline.

      5. The NFL must produce documents showing any use of films containing
         Plaintiffs’ likenesses used in beta testing for NFL Now, and films
         otherwise used or accessed after launch of NFL Now but before the

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             close of discovery in this matter, and the NFL need not produce Mr.
             Katz for continued deposition.

         6. The NFL need not provide further response to Interrogs. 14, 17 and 20.



Dated: September 12, 2014_                      s/ Arthur J. Boylan
                                               Arthur J. Boylan
                                               Special Master

                                   MEMORANDUM

I.       Background

      Plaintiffs, Dryer, Bethea and White, who opted out of a class action settlement

in this matter, are three retired NFL football players who allege the NFL used film

footage containing their likenesses, from August 2003 to the present, without

their permission and without compensation. The discovery period has ended,

and this is Plaintiffs’ final discovery motion regarding damages. The present

dispute implicates several of the Court’s prior rulings on discovery.

II.      Legal Standard

      Discovery, under Federal Rule of Civil Procedure 26(b)(1), is limited to

information reasonably calculated to lead to the discovery of admissible

evidence.      A court may order production of relevant information under this

standard upon a showing of good cause. Fed. R. Civ. P. 26(b)(1), 37(a)(1),

(a)(3)(b).




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       By order dated April 3, 2014 (Dkt. 510) and adopted by Judge Magnuson on

May 6, 2014 (Dkt. 525), the Court set forth the relevant measure of damages in

this matter:

               Two measures of damages for an unlawful use of
               intellectual property include the value plaintiff received
               for comparable uses in the past, or alternatively, the
               amount of defendant’s profits directly attributable to the
               uses. See e.g., Brown v. Ames, 201 F.3d 654, 662 (5th
               Cir. 2000); Ventura v. Titan Sports Inc., 65 F.3d 725,
               734 (8th Cir. 1995); Lemon v. Harlem Globetrotters Int’l,
               Inc., 437 F.Supp.2d 1089, 1103 (D. Ariz. 2006). Profits
               are “directly attributable” to uses when there is
               causation ̶ for example, when a plaintiff can prove that
               the use of its intellectual property motivated consumers
               to select or pay more for, the defendant’s goods. See,
               Gucci Am. Inc. v. Daffy’s Inc., 354 F.3d 228, 242 (3rd
               Cir. 2003). When a plaintiff cannot connect the use to
               the profits, damages based on profits are too
               speculative. Id.; see also Del Amo v. Baccash, Civ. No.
               07-663, 2008 WL 2780978, *2 (C.D. Cal. July 15, 2008).

III.     Discussion

         A. The NFL need not produce information concerning subscriber fee
            revenues paid to the NFL Network.

         Plaintiffs seek to compel the production of the aggregate data of subscriber

fee revenues paid to the NFL Network for the right to use its programming,

including the films and footage containing Plaintiffs’ likenesses. Plaintiffs assert

the information is discoverable because the NFL represented that it does not

apportion subscriber fees on a film-by-film basis, therefore, Plaintiffs are entitled

to discovery of all subscriber fees to allow them to calculate the portion of the

revenue attributable to the individual programs in which Plaintiffs appeared.


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      Plaintiffs have not established that use of their individual likenesses

motivated the subscribers to select or pay more for NFL Network programming.

Under the law of the case, without such a showing, a theory of damages based

on total profits is too speculative. Thus, the total of subscriber fee revenues paid

to the NFL Network for use of its films is not discoverable.

      B. The NFL must produce data, if any, that reflects the value of
         comparable uses of Plaintiffs’ likenesses in the past or the amount
         of the fee that is directly attributable to uses of Plaintiffs’
         likenesses, from the internal analysis performed by the NFL
         Network to calculate “a pro forma rights fee that an unrelated third
         party would pay the NFL for the right to use NFL owned content”
         (Katz Depo. Ex. 415 at 7).

      Plaintiff seek production of “the data used to prepare Plaintiffs’ Deposition

Exhibit No. 415, including the ‘internal analysis performed by the NFL Network’

that was relied upon, in part, by the third party company to calculate ‘a pro forma

rights fee, which represents a fee that an unrelated third-party licensee would

pay the NFL for the right to use NFL-owned content.’” (Pls’ Mot. and Mem. to

Compel Def. to Produce Documents and Answer Interrogs. at 6 (citing Ex. 4 at

7)). Plaintiffs assert the information is discoverable because it reflects what a

third party might have paid to license the footage at issue in an arms-length

transaction. Plaintiffs seek to show they are entitled to greater damages than the

value of their licensing agreements, which were not the product of arms-length

negotiation.

      The NFL provided, for in camera review, an unredacted copy of Katz

Depo. Exhibit 415, a valuation analysis of the NFL Network as of March 31,

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2008.    Based on the in camera review, neither the redactions made to the

valuation nor, in general, the data used to prepare Katz Exhibit 415 are

discoverable. Within the valuation, however, there is reference to an internal

analysis performed by the NFL Network to calculate a pro forma rights fee that

an unrelated third-party licensee would pay the NFL for the right to use NFL-

owned content.     The amount of the pro forma rights fee is not discoverable

because the amount of the total value apportioned to Plaintiffs is too speculative,

the same reason the Court denied discovery of the value of the NFL Films library.

(Dkt 510 at 11). If, however, the internal analysis performed by the NFL Network

to determine the pro forma rights fee reflects the value of comparable uses of

Plaintiffs’ likenesses in the past or the amount of the total fee that is directly

attributable to uses of Plaintiffs’ likenesses, such information must be produced

in conformance with the Court’s prior discovery rulings.

        C. After in camera review of a sampling of redacted documents, the
           NFL need not produce unredacted versions of otherwise
           discoverable documents.

        Plaintiffs contend the NFL improperly redacted information from

documents containing relevant and discoverable information about the NFL’s use

of Plaintiffs’ likenesses. The NFL argues, under the Court’s prior rulings, the NFL

need not produce unredacted versions of documents that contain information

regarding uses of other players’ likenesses or information about the NFL brand

as a whole. The NFL has produced a sampling of the unredacted versions of

documents for in camera review. Upon review, the documents at issue were

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properly redacted in conformance with the Court’s prior discovery rulings. (Dkts.

510 and 537).


      D. The NFL must request that Cinedigm produce documents showing
         the number of iTunes downloads of programs the NFL identified
         as containing Plaintiffs’ likenesses, but the NFL need not produce
         documents showing the number of CBS Sportsline downloads of
         programs the NFL identified as containing Plaintiffs’ likenesses.


      Plaintiffs seek production of documents concerning downloads of Plaintiffs’

films from iTunes and CBS Sportsline. The NFL asserts any relevant documents

concerning iTunes downloads are in the control of Cinedigm. The NFL offered,

as a compromise, to ask Cinedigm if it has data or reports sufficient to show the

number of iTunes downloads of the programs the NFL has identified as including

game footage of Plaintiffs and whether Cinedigm can retrieve that data, and if so,

the NFL will produce those documents.       (NFL’s Mem. Opposing Pls’ Mot. to

Compel at 12, n.2). Thus, the NFL is directed to make the request to Cinedigm

and is ordered to produce any such documents provided by Cinedigm.

      Regarding downloads of the films at issue from CBS Sportsline, the NFL

has established that it does not have possession, custody or control over such

documents; therefore, it is not required to produce the documents. Fed. R. Civ.

P. 34(a)(1)(A). Plaintiffs had the opportunity to obtain this information by third

party subpoena before the close of discovery and cannot now complain of

prejudice for failure to do so.



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      7. The NFL must produce documents showing any use of films
         containing Plaintiffs’ likenesses used in beta testing for NFL Now,
         and otherwise used by NFL Now before the close of discovery in
         this matter; but the NFL need not produce Mr. Katz for continued
         deposition.

      Plaintiffs contend the NFL erred by instructing their Rule 30(b)(6)

designee, Howard Katz, not to answer questions about the use of films

containing their likenesses in the platform NFL Now, and Plaintiffs’ seek

production of relevant documents.       The NFL objects to production of such

documents because the protective order precludes discovery concerning the

NFL’s “future uses” of Plaintiffs’ likenesses. The NFL submitted that while NFL

Now launched soon before the close of damages discovery in this matter, if the

request is limited to uses of Plaintiffs’ films in beta testing for NFL Now, and uses

or access of the films after launch but before the close of discovery, it is likely a

very small universe of responsive documents.

      To the extent the NFL possesses responsive documents showing access

or use of films containing Plaintiffs’ likenesses by NFL Now before the close of

damages discovery, such information falls within the relevant time period. Thus,

the NFL must produce responsive documents, if any, used in beta testing for NFL

Now or used after the launch of NFL Now but before the close of damages

discovery.

      Plaintiff’s also challenge the NFL’s instruction that Katz not testify in

response to the question of whether game footage, which the NFL interpreted as

“live games,” was an element in negotiating licensing fees for the content of NFL

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films.    The NFL objects to such questioning on the basis that information

concerning live game revenue is protected from discovery. The NFL is correct,

on April 3, 2014, the Court granted a protective order covering “information about

revenues other than the challenged uses of NFL films programs in which

Plaintiffs appeared.” (Dkt. 510 at 2). Therefore, the NFL did not err in instructing

Katz not to testify in response to Plaintiffs’ question regarding live game footage.

         Plaintiffs also challenge the NFL’s instruction to Mr. Katz not to answer a

question regarding what would happen, with respect to “the NFL’s general

licensing practice,” based on a hypothetical question regarding a player who

objected to use of footage containing his likeness. (Pl’s Mem. at 10-11). Finally,

Plaintiffs challenge the NFL’s instruction not to answer a question “as to whether

or not access to NFL Films footage was a factor in negotiations for licensing

agreements the NFL enters into with networks.” (Pls’ Mem. at 11). Plaintiffs

contend the information is relevant to two areas of permissible discovery under

this Court’s prior order: (1) the NFL’s licensing practices related to footage in

which Plaintiffs appear; and (2) general information regarding: (1) the NFL’s

standard practices and procedures regarding the licensing of NFL films footage

and NFL films programs. (Pl’s Mem. at 11 (citing Dkt. 510 at 2)).

         The NFL asserts the challenged deposition questions go to liability, for

which discovery is closed.         Furthermore, the NFL asserts Plaintiffs had

opportunity to explore these issues in Mr. Katz’s first deposition in the liability



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stage of discovery, and Plaintiffs otherwise exhaustively questioned Mr. Katz

regarding the value of the NFL films.

       The NFL’s instruction not to answer the specific questions at issue did not

prejudice Plaintiffs because Katz responded to similar questions in the liability

phase of damages discovery, and the deposition transcript from the damages

phase of discovery reveals Plaintiffs extensively questioned Mr. Katz regarding

the value of the NFL films. Therefore, Plaintiffs’ request to compel responses to

these questions is denied.

       E. The NFL need not provide further responses to Interrogs. 14, 17
          and 20.

       On April 3, 2014, the Court ruled that the NFL could produce business

records instead of answering certain interrogatories, if done in a manner to allow

Plaintiffs to identify the responsive information as readily as the NFL could. (Dkt

510 at 9-10). In response to Interrogatories 14, 17 and 20, the NFL identified its

responsive business records by Bates numbers, and it has established that it is

no more burdensome for Plaintiffs to find the relevant information within the

documents than it would be for the NFL to do so. Therefore, the NFL need not

provide further responses to Interrogs. 14, 17 and 20.

IV.    Conclusion

       For the foregoing reasons, Plaintiffs’ motion is granted in part and denied

in part.

                                        AJB


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